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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

In re: CROFF, CHARLES ANTONIO                            §        Case No. 18-69002-JWC
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303

          Pursuant to Third Amended and Restated General Order No. 24-2018, the Court may consider this
matter without further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in the pleadings, you must
timely file your objection with the Bankruptcy Clerk at U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive,
S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree Road, NW,
Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection deadline. The response or
objection must explain your position and be actually received by the Bankruptcy Clerk within the required time.

        A hearing on the pleadings has been scheduled for September 14, 2023. The Court will hold a hearing
on the pleadings at 11:00 A.M. on September 14, 2023, Courtroom 1203, United States Bankruptcy Court, 75
Ted Turner Drive, S.W., Atlanta, Georgia 30303, which may be attended in person or via the Court’s Virtual
Hearing Room. You may join the Virtual Hearing Room through the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the homepage of the Court’s website, www.ganb.uscourts.gov, or the link on the
judge’s webpage, which can also be found on the Court’s website. Please also review the “Hearing
Information” tab on the judge’s webpage for further information about the hearing. You should be prepared to
appear at the hearing via video, but you may leave your camera in the off position until the Court instructs
otherwise. Unrepresented persons who do not have video capability may use the telephone dial-in information
on the judge’s webpage.

          If an objection or response is timely filed and served, the hearing will proceed as scheduled. If you do
not file a response or objection within the time permitted, the Court may grant the relief requested without
further notice and without holding the scheduled hearing provided that an order approving the relief requested
is entered at least one business day prior to the scheduled hearing. If no objection is timely filed, but no order
is entered granting the relief requested at least one business day prior to the scheduled hearing, the hearing
will be held as scheduled.
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        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

Date Mailed: 08/11/2023                                   By:: /s/ S. Gregory Hays
                                                                            Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:CROFF, CHARLES ANTONIO                                  §      Case No. 18-69002-JWC
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         55,000.00
                   and approved disbursements of:                                    $                          1,664.08
                   leaving a balance on hand of1:                                    $                         53,335.92

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  1           W.S. Badcock                3,134.80                   3,134.80                        0.00                0.00
              Corporation
  2S          Ally Financial             12,500.00                  12,500.00                        0.00                0.00
  5           World Finance               2,225.14                   2,225.14                        0.00                0.00
              Corp. c/o World
              Acceptance
              Corp.
  6           Wells Fargo              129,932.69                 129,932.69                         0.00                0.00
              Bank, N.A.
  9           SOUTHWEST                  12,520.65                  12,520.65                        0.00                0.00
              AIRLINES FCU
  11          Crown River                   389.84                     389.84                        0.00                0.00
              Homeowners
              Association,
              Inc.
  12          U.S.                        6,057.72                   6,057.72                        0.00                0.00
              Department of
              Housing and
              Urban
              Development



           1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest

      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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                                           Total to be paid to secured creditors:        $                   0.00
                                           Remaining balance:                            $              53,335.92

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                       Total            Interim      Proposed
                                                                     Requested        Payments to       Payment
                                                                                            Date
  Trustee, Fees - S. Gregory Hays                                      6,000.00              0.00       6,000.00
  Trustee, Expenses - S. Gregory Hays                                     135.82             0.00         135.82
  Accountant for Trustee, Fees - Hays Financial Consulting,            1,680.00              0.00       1,680.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                        89.55             0.00          89.55
  Consulting, LLC
  Attorney for Trustee Fees (Other Firm) - MIchael J. Bargar          18,809.50              0.00      18,809.50
  Attorney for Trustee Expenses (Other Firm) - Michael J.                 252.30             0.00         252.30
  Bargar

                Total to be paid for chapter 7 administrative expenses:                  $              26,967.17
                Remaining balance:                                                       $              26,368.75

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                Total              Interim        Proposed
                                                                  Requested          Payments to    Payment
                                                                                     Date

                                                      None

                Total to be paid for prior chapter administrative expenses:              $                   0.00
                Remaining balance:                                                       $              26,368.75

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                             Allowed Amount        Interim Payments                 Proposed
  No.                                                  of Claim                 to Date                 Payment

                                                      None

                                             Total to be paid for priority claims:       $                   0.00
                                             Remaining balance:                          $              26,368.75




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               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $28,456.86 have been allowed and will
       be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
       timely allowed general (unsecured) dividend is anticipated to be 92.7 percent, plus interest (if
       applicable).
              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment
  2U          Ally Financial                                8,719.91                  0.00               8,080.06
  3           Western Shamrock                                955.87                  0.00                 885.73
              Corporation dba Western
              Finance
  4           Capital One Bank (USA), N.A.                    950.18                  0.00                 880.46
  7           Timepayment Corp                              8,581.82                  0.00               7,952.10
  8           Timepayment Corp                              8,399.60                  0.00               7,783.25
  10          COVINGTON CREDIT                                849.48                  0.00                 787.15
              GA0012

                      Total to be paid for timely general unsecured claims:              $               26,368.75
                      Remaining balance:                                                 $                    0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment

                                                         None

                      Total to be paid for tardily filed general unsecured claims:       $                       0.00
                      Remaining balance:                                                 $                       0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount       Interim Payments                Proposed
  No.                                                   of Claim                to Date                Payment

                                                     None

                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                                Prepared By: /s/ S. Gregory Hays
                                                                          Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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